      Case 2:10-cv-00106-LRH-VCF Document 304-3 Filed 05/30/12 Page 1 of 5



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14                               UNITED STATES DISTRICT COURT

15                                     DISTRICT OF NEVADA

16

17   ORACLE USA, INC., a Colorado corporation;
     ORACLE AMERICA, INC. a Delaware                    Case No. 2:10-cv-00106-LRH-PAL
18   corporation; and ORACLE INTERNATIONAL
     CORPORATION, a California corporation,             APPENDIX OF EXHIBITS IN
19                                                      SUPPORT OF PLAINTIFFS ORACLE
                   Plaintiffs,                          USA, INC., ORACLE AMERICA, INC.,
20          v.                                          AND ORACLE INTERNATIONAL
                                                        CORPORATION’S MOTION FOR
21   RIMINI STREET, INC., a Nevada corporation;         EVIDENTIARY SANCTIONS FOR
     SETH RAVIN, an individual,                         SPOLIATION [VOLUME I OF III]
22
                    Defendants.                         REDACTED
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                                                                          Case No. 2:10-cv-00106-LRH-PAL

         APPENDIX OF EXHIBITS ISO PLAINTIFFS’ MOTION FOR EVIDENTIARY SANCTIONS FOR SPOLIATION
         Case 2:10-cv-00106-LRH-VCF Document 304-3 Filed 05/30/12 Page 2 of 5



 1                                      APPENDIX OF EXHIBITS

 2           Pursuant to Local Rule 10-3, Plaintiffs Oracle USA, Inc., Oracle America, Inc., and

 3   Oracle International Corp. (collectively, “Oracle”) submit this Appendix Of Exhibits in support

 4   of their motion for evidentiary sanctions on Defendants Rimini Street, Inc. (“RSI”) and its CEO,

 5   Seth Ravin (together, “Rimini”) for spoliation.

 6
     EX.     DESCRIPTION                                                         CONF.               VOL
 7   NO.                                                                         DESIGN.             NO.
     1       Excerpt of transcript of March 29, 2011 Status Conference           No                  I
 8                                                                               designation
     2       Excerpt of transcript of November 8, 2011 Status Conference         No                  I
 9                                                                               designation
     3       Oracle’s Fifth Set of Interrogatories to RSI, served on May 25,     No                  I
10           2011                                                                designation
11   4       RSI’s Second Supplemental Responses to Interrogatories Nos.         No                  I
             24-25, served on November 22, 2011                                  designation
12
     5       RSI’s Third Supplemental Responses to Interrogatories Nos. 20-      Confidential        I
13           22, served on February 6, 2012
14   6       RSI’s First Supplemental Ex. 1A-3 to Responses to                   Confidential        I
             Interrogatories Nos. 20-22, served on March 9, 2012
15
     7       Excerpts from RSI’s Second Amended Responses to Requests            No                  I
16           for Admissions, Set 3, served on January 4, 2012                    designation
17   8       Excerpts from the deposition of Jeff Allen taken on October 18,     Confidential        I
             2011
18
     9       Excerpts from the deposition of Douglas Baron taken on May          Confidential        I
19           10, 2011
20   10      Excerpts from the deposition of Dennis Chiu taken on June 24,       Confidential        I
             2011
21
     11      Excerpts from the deposition of J.R. Corpuz taken on March 15,      Highly              I
22           2011                                                                Confidential
23   12      Excerpts from the deposition of Kevin Maddock taken on              Confidential        I
             January 6, 2012
24

25   13      Excerpts from the deposition of Seth Ravin taken on July 21,        Highly              I
             2010 in Oracle USA, Inc. et al. v. SAP AG et al., No 07-cv-         Confidential
26           01658 (N.D. Cal.)

27   14      Excerpts from the deposition of Brian Slepko (FRCP 30(b)(6)         Confidential        I
             witness) taken on December 16, 2011
28
                                                       1                       Case No. 2:10-cv-00106-LRH-PAL

           APPENDIX OF EXHIBITS ISO PLAINTIFFS’ MOTION FOR EVIDENTIARY SANCTIONS FOR SPOLIATION
      Case 2:10-cv-00106-LRH-VCF Document 304-3 Filed 05/30/12 Page 3 of 5



 1   EX.     DESCRIPTION                                                      CONF.               VOL
     NO.                                                                      DESIGN.             NO.
 2   15      Excerpts from the deposition of Brian Slepko (personal capacity) Confidential        I
             taken on December 15, 2011
 3
     16      Excerpts from the deposition of Krista Williams taken on         Confidential        I
 4           October 5, 2011

 5   17      Excerpts from the deposition of John Whittenbarger taken on      Confidential        I
             September 27, 2011
 6
     18      Excerpts from the deposition of Douglas Zorn taken on            Confidential        I
 7           September 16, 2011

 8   19      March 6, 2009 e-mail from K. Williams                            Highly              I
             [Oracle Depo. Ex. 39]                                            Confidential
 9
     20      October 25, 2007 e-mail from D. Baron                            Confidential        I
10           [Oracle Depo. Ex. 161]
11   21      June 29, 2006 e-mail from D. Slarve                              Confidential        II
             [Oracle Depo. Ex. 244]
12
     22      October 5, 2006 e-mail from D. Chiu                              Confidential        II
13           [Oracle Depo. Ex. 246]
14   23      September 13, 2006 instant message between D. Chiu and S.        Confidential        II
             Tahtaras
15           [Oracle Depo. Ex. 247]
16   24      February 12, 2007 e-mail from D. Baron                           Confidential        II
             [Oracle Depo. Ex. 249]
17
     25      January 12, 2010 e-mail from K. Williams                         Confidential        II
18           [Oracle Depo. Ex. 252]
19   26      March 12, 2007 e-mail from G. Lester                             Confidential        II
             [Oracle Depo. Ex. 253]
20
     27      July 14, 2009 e-mail from K. Williams                            Confidential        II
21           [Oracle Depo. Ex. 276]
22   28      RSI Consolidated Financial Statements Years Ended December       Confidential        II
             31, 2010 and 2009
23           [Oracle Depo. Ex. 418]
24   29      January 21, 2007 e-mail from D. Baron                            Confidential        II
             [Oracle Depo. Ex. 466]
25
     30      June 15, 2009 e-mail from K. Williams                            Confidential        II
26           [Oracle Depo. Ex. 469]
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                                                      2                     Case No. 2:10-cv-00106-LRH-PAL

           APPENDIX OF EXHIBITS ISO PLAINTIFFS’ MOTION FOR EVIDENTIARY SANCTIONS FOR SPOLIATION
      Case 2:10-cv-00106-LRH-VCF Document 304-3 Filed 05/30/12 Page 4 of 5



 1   EX.     DESCRIPTION                                                      CONF.               VOL
     NO.                                                                      DESIGN.             NO.
 2   31      June 29,2009 e-mail from K. Williams                             Confidential        II
             [Oracle Depo. Ex. 470]
 3
     32      July 17, 2009 e-mail from B. Slepko                              Confidential        II
 4           [Oracle Depo. Ex. 480]

 5   33      January 13, 2010 e-mail from E. Freeman                          Confidential        II
             [Oracle Depo. Ex. 482]
 6
     34      January 13, 2010 e-mail from K. Williams                         Confidential        II
 7           [Oracle Depo. Ex. 503]

 8   35      United States v. TomorrowNow, Inc., No. 11-cr-00642 (N.D.        No                  II
             Cal.), Docket No. 13, TomorrowNow Criminal Plea Agreement        designation
 9           filed September 14, 2011
             [Oracle Depo. Ex. 606]
10
     36      February 5, 2009 e-mail from S. Ravin                            Confidential        II
11           [Oracle Depo. Ex. 912]
12   37      June 26, 2006 e-mail from D. Chiu                                Confidential        II
             [Oracle Depo. Ex. 926]
13
     38      December 15, 2009 e-mail from S. Ravin                           Highly              II
14           [Oracle Depo. Ex. 1385]                                          Confidential
15   39      Excerpts from June 19, 2009 Memo. of Closing, Series B           Highly              II
             Preferred Stock Financing                                        Confidential
16           [Oracle Depo. Ex. 1389]
17   40      December 23, 2008 letter from D. Wall                            No                  II
             [Oracle Depo. Ex. 1633]                                          designation
18
     41      October 5, 2009 e-mail from P. Bohn                              Confidential        II
19           [Oracle Depo. Ex. 1644]
20   42      June 18, 2009 e-mail from M. Fleming                             Highly              II
             [ASP004074-81]                                                   Confidential
21
     43      June 15, 2009 e-mail from J. Feldman                             Highly              II
22           [ASP004082-7]                                                    Confidential
23   44      June 5, 2009 e-mail from P. Colaninno                            Highly              II
             [RSI00023131-2]                                                  Confidential
24
     45      June 11, 2009 e-mail from R. Murray                              Highly              III
25           [RSI00024428-30]                                                 Confidential
26   46      January 16, 2009 letter from D. Wall                             No                  III
             [RSI03202162-3]                                                  designation
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                                                     3                      Case No. 2:10-cv-00106-LRH-PAL

           APPENDIX OF EXHIBITS ISO PLAINTIFFS’ MOTION FOR EVIDENTIARY SANCTIONS FOR SPOLIATION
      Case 2:10-cv-00106-LRH-VCF Document 304-3 Filed 05/30/12 Page 5 of 5



 1   EX.     DESCRIPTION                                                           CONF.               VOL
     NO.                                                                           DESIGN.             NO.
 2   47      December 3, 2008 letter from D. Goldfine                              No                  III
             [RSI03206203-10]                                                      designation
 3
     48      December 19, 2008 letter from D. Goldfine                             No                  III
 4           [RSI03206928-9]                                                       designation

 5   49      Instant message between E. Freeman and C. Limburg                     Confidential        III
             [RSI04084930]
 6
     50      Screenshot of \\rsi-cisvr01\client_software\PeopleSoft                Confidential        III
 7           [RSI06276320]

 8   51      Excerpts from the Expert Report of Scott D. Hampton dated             Highly              III
             March 30, 2012                                                        Confidential
 9
     52      Excerpts from the Expert Report of Brooks L. Hilliard dated           Highly              III
10           March 30, 2012                                                        Confidential
11   53      Trial Stipulation and Order No. 1 Regarding Liability, Dismissal      No                  III
             Of Claims, Preservation of Defenses, and Objections to                designation
12           Evidence at Trial in Oracle USA, Inc. et al. v. SAP AG et al., No
             07-cv-01658 (N.D. Cal.), Docket No. 866, filed September 13,
13           2010
14   54      Non-Party Seth Ravin’s and Non-Party Rimini Street’s                  No                  III
             Opposition to Oracle’s Motion to Compel Seth Ravin to Answer          designation
15           Deposition Questions and to Compel Rimini Street to Produce
             Documents in Oracle USA, Inc. et al. v. SAP AG et al., No 09-
16           cv-01591 (D. Nev.), Docket No. 26, filed September 14, 2009
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           APPENDIX OF EXHIBITS ISO PLAINTIFFS’ MOTION FOR EVIDENTIARY SANCTIONS FOR SPOLIATION
